                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

IN RE:

ROBERT SCHWARTZ,                                      Case No. 10-71142-MBM
                                                      Chapter 11
           Debtor.                                    Hon. Marci B. McIvor
________________________/


                 OPINION DENYING CREDITOR PAMELA LIGGETT’S
                        MOTION FOR RECONSIDERATION

         Pamela Liggett filed this Motion for Reconsideration seeking reconsideration

and/or relief from the Order Confirming Debtor’s Chapter 11 Plan entered on November

5, 2012. For the reasons set forth below, Pamela Liggett’s Motion for Reconsideration

is DENIED.



                                                I.

                                FACTUAL BACKGROUND

         On August 28, 2012, Debtor filed a Combined Plan of Reorganization and

Disclosure Statement. On September 24, 2012, Liggett filed her Request for Inclusion

of Information in Disclosure Statement, which was essentially an objection to the

Disclosure Statement. On October 12, 2012, Liggett filed an Objection to Final Approval

of the Combined Plan and Disclosure Statement filed on August 28, 2012. On October

15, 2012, Liggett filed another document entitled Objections to Final Approval of the

Combined Plan and Disclosure Statement. On October 18, 2012, the IRS filed an

Objection to Confirmation of Plan. On October 23, 2012, this Court held a confirmation

hearing. At that hearing, this Court overruled Liggett’s objections to confirmation and




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adjourned the IRS’s objections to confirmation. On November 2, 2012, Debtor and the

IRS resolved the IRS’s objections to Debtor’s Plan. On November 5, 2012, this Court

entered an “Order Confirming the Combined Plan of Reorganization and Disclosure

Statement of Robert L. Schwartz under Chapter 11 of the Bankruptcy Code and

Approving Disclosure Statement”.

       On November 16, 2012, Liggett filed this Motion for Reconsideration. In her

Motion for Reconsideration, Liggett raises four issues which she believes merit

reconsideration of this Court’s Order Confirming Debtor’s Plan: (1) Debtor’s Plan

improperly classified Liggett’s claim as unimpaired; (2) the Plan provides for the

discharge and release of Liggett’s claim against Debtor upon completion of the Plan; (3)

the Plan contains language enjoining Liggett from attempting collection on her non-

dischargeable debt during the course of the Plan; and (4) the Plan impermissibly denies

Liggett interest on her claim. The portions of the Plan Liggett has identified as

objectionable are attached as Appendix 1.

       For the reasons set forth below, this Court denies Liggett’s Motion for

Reconsideration.

                                            II.

                                        ANALYSIS

       Under L.B.R. 9024-1 (E.D.M.), a motion for reconsideration should be granted if

the movant demonstrates that the Court and the parties have been misled by a palpable

defect and that a different disposition of the case must result from a correction of such

palpable defect. A motion that merely presents the same issues already ruled upon by

the Court, either expressly or by reasonable implication, shall not be granted.

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       The Motion for Reconsideration filed in this case does not demonstrate that this

Court has been misled by a palpable defect and that a different disposition of the case

must result from a correction of such palpable defect. With respect to Liggett’s

argument that her claim was improperly classified during the confirmation process, this

Court considered that argument and, nonetheless, confirmed Debtor’s Plan.1 Liggett’s

claim is being paid in full over the life of Debtor’s Plan and is, therefore, not impaired.

With respect to this argument, this Court finds that, Liggett has not demonstrated that

the Court and the parties were misled by a palpable defect. Therefore, this Court

DENIES Debtor’s Motion for Reconsideration of this Court’s Order Confirming Plan on

this ground.

       The remaining issues raised in this Motion for Reconsideration were not

previously raised in either Liggett’s Objections to Confirmation filed on October 12, 2012

and October 15, 2012 or during her argument at the confirmation hearing held on

October 23, 2012. Since the issues were never raised during the confirmation process,

this Court never ruled on the issues. Liggett cannot now argue that this Court was

misled or that the Court ruled incorrectly on issues never presented to the Court.

Liggett, through a new attorney (her fourth), is raising issues she did not raise prior to

confirmation. New arguments do not present grounds for granting Liggett’s Motion for



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         This Court views this argument as another attempt by Liggett to re-litigate the
amount of her claim. While a final order with respect to Claim No. 24 has not been
entered, this Court has previously determined the value of Claim No. 24 is $60,485.10.
A final order has not yet been entered because the parties disagree on the exact date to
fix the amount of the claim. Depending on the date agreed to by the parties, the
maximum amount the claim would increase is $4,000. This amount is not enough to
fracture the Plan.

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Reconsideration.

          This Court finds that there are no grounds for reconsideration of its Order

Confirming Plan. However, even if Liggett had raised the objections to Debtor’s Plan

which she now asserts in her Motion for Reconsideration, those objections have no

merit and would not have been sustained by this Court.

          Liggett’s first post-confirmation argument is that the Plan improperly “provides for

the complete and unconditional discharge and release of any and all claims that Ms.

Liggett may have against either the Debtor or his property of whatsoever kind or

nature.” (Brief, unnumbered p. 6). Liggett argues that this provision violates 11 U.S.C. §

1141(d)(2) which states, “A discharge under this chapter does not discharge a debtor

who is an individual from any debt excepted from discharge under section 523 of this

title.”

          This Court finds Liggett’s argument misplaced. Individual debtors under chapter

11 are entitled to discharges upon completion of their plans. 11 U.S.C. § 1141(d)(5)(A).

Under this Debtor’s Plan, Debtor is required to pay Liggett’s claim in full over five years.

Debtor will not receive a discharge until an order is entered by the Court and after all

payments have been made under this Plan. If Liggett’s claim is not paid in full, Debtor

will not receive a discharge of Liggett’s claim.

          Next, Liggett objects to the injunctive provisions of the Plan which prevent her

from immediately initiating collection on her claim. This Court finds that the injunctive

language set forth in the Plan is permissible under Sixth Circuit law. Generally, a

confirmation order creates a binding contractual obligation between a debtor and his/her

creditors and, so long as debtor makes the payments required by the plan, the creditors

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cannot pursue collection of the claim. In re Newstar Energy of Texas, LLC, 280 B.R.

623, 626 (Bankr. W.D. Mich. 2002)(the provisions of a confirmed chapter 11 plan bind

all creditors in accordance with the terms of the plan. § 1141(a).)

       Liggett cites In re Bartleson, 253 B.R. 75, 80-81 (9th Cir. BAP 2000) for the

proposition that a confirmed Chapter 11 plan that provided payment in full of a non-

dischargeable debt did not preclude the creditor to whom that debt was owed from

exercising collection rights outside the plan against non-plan assets. The case has no

applicability to the instant case for two reasons. First, the plan in Bartleson did not

include any injunctive language precluding creditors from collecting on non-

dischargeable claims from non-plan assets. Second, in Bartleson, there appeared to

exist a pool of assets clearly defined as “non-estate assets”. In allowing a creditor

holding a non-dischargeable claim to pursue collection against non-estate assets, the

court was careful to limit its ruling as follows:

       Under the facts of this case, (1) where Debtor did not specifically include
       an injunctive provision in his Plan, (2) where Debtor failed to dedicate his
       Non–Plan Assets to fund the Plan, and (3) where the Creditors did not
       take any action which should estop them from pursuing collection activity,
       the panel will follow DePaolo and the majority line of cases, and hold that
       the confirmed plan does not preclude Creditors from collecting their
       nondischargeable claim outside the bankruptcy.

Bartleson, 253 B.R. at 84.

       In the instant case, Debtor’s confirmed Plan does contain injunctive language,

and it appears that there are no “non-Plan assets”. Debtor is funding his Plan with his

income and his Schedules show that his other assets have no equity or are exempt.

Therefore, this Court finds that Bartleson is not persuasive authority.

       Liggett also cites Boatmen’s Bank of Tennessee v. Embry (In re Embry), 10 F.3d

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401 (6th Cir. 1993) for the proposition that a creditor holding a non-dischargeable debt

does not violate the stay when it garnishes debtor’s property which was not property of

the estate. The Boatman’s Bank case is completely distinguishable from the instant

case. In the Boatman’s Bank case, the debtor was in a chapter 7 bankruptcy

proceeding. The issue was whether a creditor whose claim had been determined to be

non-dischargeable violated the automatic stay (11 U.S.C. § 362) when he garnished a

bank account which was not an estate asset. The Sixth Circuit Court of Appeals held

that, because the debt was determined to be non-dischargeable, even though debtor

had not received his general discharge under 11 U.S.C. § 727, the creditor’s

garnishment did not violate the stay. These facts are totally different from the facts of

the instant case. In the instant case, Debtor is in a chapter 11 and his confirmed Plan of

Reorganization provides for full payment of Liggett’s claim. The Boatman’s Bank case

has no applicability to a Chapter 11 case.

       Liggett’s final argument is that the Plan violates 11 U.S.C. § 1129(a)(15) because

the Plan does not provide for the payment of Liggett’s claim with interest. Section

1129(a)(15) states:

       (a) The court shall confirm a plan only if all of the following requirements
       are met:

              (15) In a case in which the debtor is an individual and in which the
              holder of an allowed unsecured claim objects to the confirmation of
              the plan--

                      (A) the value, as of the effective date of the plan, of the
                      property to be distributed under the plan on account of such
                      claim is not less than the amount of such claim; or

                      (B) the value of the property to be distributed under the plan
                      is not less than the projected disposable income of the

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                      debtor (as defined in section 1325(b)(2)) to be received
                      during the 5-year period beginning on the date that the first
                      payment is due under the plan, or during the period for which
                      the plan provides payments, whichever is longer.


       Liggett argues that Debtor’s plan does not comply with 11 U.S.C.

§1129(a)(15)(A) because although the plan provides for the payment of her claim in full

as of the effective date of the plan, Debtor’s plan fails to provide for the payment of

interest on the claim. This Court finds that the plain language of § 1129(a)(15)(A)

requires only that Liggett receive “the value, as of the effective date of the plan” of her

claim (emphasis added). The plain meaning of the statute is that the value of an

unsecured claim is set as of the effective date of the Plan and that a debtor need only

provide for payment of that claim, not for the payment of the claim plus interest over the

life of the plan.2

       The Court notes that § 1129(a)(9)(C) does provide for interest on an unsecured

tax claim. Section 1129(a)(9)(C) states:

       (a) The court shall confirm a plan only if all of the following requirements
       are met:

               (9) Except to the extent that the holder of a particular claim has agreed to
               a different treatment of such claim, the plan provides that--


                                       *      *     *
                      (C) with respect to a claim of a kind specified in section 507(a)(8) of
                      this title, the holder of such claim will receive on account of such


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        A general unsecured creditor would be entitled to interest if debtor’s assets were
liquidated after the filing of the case, and the value of the liquidated assets created a
surplus after claims were paid in full. See In re David Green Property Management,
164 B.R. 92 (Bankr. W.D. Missouri 1994). Those facts are not present in the instant
case.

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                     claim regular installment payments in cash--

                            (I) of a total value, as of the effective date of the plan, equal
                            to the allowed amount of such claim;

Courts have held that § 1129(a)(9)(C), entitles the government to interest on its claim

so that its aggregate receipts over the payment period will equal the present value of its

tax claims. See, In re Camino Real Landscape Maintenance Contractors, Inc.,

818 F.2d 1503 (9th Cir. 1987).

       In contrast to the language of 11 U.S.C. § 1129(a)(9)(C), 11 U.S.C.

§1129(a)(15)(A) only provides that an unsecured creditor receive the value of his/her

claim as of the effective date of the plan. The value of Liggett’s claim on the effective

date of the plan is $60,485.10, plus a possible few thousand dollars. Debtor’s confirmed

plan will pay the amount of that claim in full. Debtor’s plan complies with the

requirements of 11 U.S.C. § 1129(a)(15)(A).



                                             III.

                                      CONCLUSION

       For the reasons set forth above, this Court DENIES Creditor’s Motion for

Reconsideration of this Court’s Order Confirming Plan.


Signed on December 7, 2012
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                                                        /s/ Marci B. McIvor
                                                     Marci B. McIvor
                                                     United States Bankruptcy Judge




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                                   APPENDIX ONE
                            Relevant Provisions of the Plan


                                       Article III
                    Classification of Claims and Equity Interests
Class 2 – Pamela      Non-dischargeable,               Claims in         Unimpaired –
Liggett               unsecured property               Class 2           Deemed to
                      settlement, one half of          are               Accept
                      an IRA pursuant to the           approximately
                      parties Judgment of Divorce,     $60,485.00.
                      and pursuant to the Order

                                                                               Article IV
                                             Treatment of Claims and Equity Interests
                                                          4.2. Class 2 - Pamela Liggett
 (a) Impairment and Voting. Class 2 consists of the non-dischargeable claim of Pamela
       Liggett. This claim consists of a property settlement pursuant to the Judgment of
Divorce, awarding Ms. Liggett one half of an IRA account. This claim is not impaired by
the Plan, and has been fixed by Order of the Bankruptcy Court, entered on January 31,
  2012, Docket No. 152, in Mr. Schwartz’s Bankruptcy Case. Each holder of an Allowed
                                            Class 2 Claim is deemed to accept the Plan.

  (b) Treatment. Pamela Liggett, the only claimant In Class 2, is not impaired, and shall
   receive in full and complete settlement, satisfaction and discharge of her Claim, Cash
           payments in equal monthly installments over five years beginning on the First
                                          Distribution Date in the amount of $1,500.00.



                                                                                  Article IX

                                                                   Effect of Confirmation

                   9.3. Discharge of Debtor. Except as may otherwise be provided in the
   Plan or Confirmation Order, the rights afforded and the payments and Distributions to
  be made and the treatment under the Plan will be in complete exchange for, and in full
and unconditional settlement, satisfaction, discharge, and release of any and all existing
   debts and Claims of any kind, nature or description whatsoever against Mr. Schwartz
     and his assets, his property or his estate, and will effect a full and complete release,
  discharge, and termination of all Liens, security Interests, or other Claims, Interests, or
 encumbrances upon all of Mr. Schwartz’s assets and property. Further, all Persons are
  precluded from asserting, against any property of Mr. Schwartz, or any Property that is
 to be distributed under the terms of the Plan, any Claims, obligations, rights, Causes of
   Action, or liabilities based upon any act, omission, transaction, or other activity of any
kind or nature that occurred prior to the Effective Date, other than as expressly provided



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  for in the Plan or Confirmation Order, whether or not the holder of a Claim based upon
           such debt has accepted the Plan and whether or not such holder is entitled to a
                                                              distribution under the Plan.

    Mr. Schwartz shall not receive a discharge until an order is entered by the Court and
 after all payments have been made under this Plan, unless Mr. Schwartz files a motion
     pursuant to 11 U.S.C. 1141(5)(A) or (B) to seek discharge prior to completion of the
                                                                                   Plan.

  9.4.Injunction. Except as may otherwise be provided in the Plan or Confirmation Order,
       all Persons who have held, hold or may hold Claims against Mr. Schwartz are, with
respect to any such Claims, permanently enjoined from and after the Confirmation Date,
        from taking any of the following actions (other than actions to enforce any rights or
   obligations under the Plan): (a) commencing, conducting or continuing in any manner,
   directly or indirectly, any suit, action or other proceeding of any kind (including, without
 limitation, any proceeding in a judicial, arbitral, administrative or other forum) against or
affecting Mr. Schwartz or any of his property; (b) enforcing, levying, attaching (including,
   without limitation, any pre-judgment attachment), collecting or otherwise recovering by
     any manner or means, whether directly or indirectly, any judgment, award, decree or
   order against Mr. Schwartz or any of his property; (c) creating, perfecting or otherwise
 enforcing in any manner, directly or indirectly, any encumbrance of any kind against Mr.
       Schwartz or any of his property; or (d) prosecuting or otherwise asserting any right,
                                     claim or Cause of Action released pursuant to the Plan.

Except as otherwise specifically provided in the Plan, nothing in the Plan will be deemed
       to waive, limit, or restrict in any way the discharge granted to Mr. Schwartz upon
                      Confirmation of the Plan by Section 1141 of the Bankruptcy Code.




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